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                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE WESTERN DISTRICT OF LOUISIANA
                             LAKE CHARLES DIVISION

  THE STATE OF LOUISIANA,
  By and through its Attorney General,
  Liz Murrill,

                                         PLAINTIFF,

  v.                                                  CIVIL ACTION NO. 2:23-cv-00692

  UNITED STATES ENVIRONMENTAL
  PROTECTION AGENCY; et al.,

                                   DEFENDANTS.


                      MEMORANDUM IN SUPPORT OF PERMANENT RELIEF
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                                            INTRODUCTION
         The parties agree that this Court’s January 23 Order (“Order”) (Doc. 48) resolves the merits

 of each of the State’s claims. The parties further agree that entry of an injunction is warranted on the

 claims on which the State prevailed (Counts III, IV, V, and VI). Only two remedial issues remain for

 this Court to resolve: (1) whether this Court should follow the default APA rule and vacate the

 disparate-impact regulations it held to be unlawful and unconstitutional, and (2) whether the

 injunction should apply to all entities within the State’s sovereign borders or should instead be limited

 purely to the State and State agencies. This Court should answer both questions in the affirmative and

 therefore enter the State’s proposed judgment.

         The Fifth Circuit has explicitly and repeatedly held that for APA cases, “[t]he default rule is that

 vacatur is the appropriate remedy.” Data Marketing Partnership, LP v. DOL, 45 F.4th 846, 859 (5th Cir.

 2022) (emphasis added) (citations omitted). This Court should follow that default rule here,

 particularly as (1) the legal defects in the challenged disparate-impact regulations are irremediable on

 remand and (2) the disruption to Defendants’ operations will be minimal and confined to closing

 down a modest number of investigations that are unlawful under this Court’s Order.

         This Court should also issue an injunction that is limited to the State’s borders but not limited

 purely to State agencies. Even where the Fifth Circuit has judged a nationwide injunction unwarranted,

 it has only narrowed the injunction to the sovereign territory of the plaintiff states—not merely the

 states as legal entities. See Louisiana v. Becerra, 20 F.4th 260, 263-64 (5th Cir. 2021). Because enforcement

 of Defendants’ unlawful disparate-impact regulations effectively invites violation of Louisiana’s laws

 prohibiting discrimination on the basis of race, a statewide injunction will remedy the sovereign injury

 that enforcement of Defendants’ unlawful regulations in Louisiana would otherwise occasion. And a

 statewide injunction is particularly warranted here given EPA’s demonstrated proclivity to exploit its

 coercive power under Title VI to make unlawful demands as part of informal negotiations. Given this

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 Court’s unequivocal holding that these actions are unlawful, such tactics should not be permitted

 anywhere in Louisiana’s territory.

          This Court should accordingly enter the State’s proposed judgment vacating the challenged

 disparate-impact regulations and issuing an injunction that applies statewide. 1

                                                 LEGAL STANDARD
          In APA cases, “[t]he default rule is that vacatur is the appropriate remedy.” Data Marketing

 Partnership, 45 F.4th at 859. Vacatur is a “less drastic remedy” than injunctive relief. Monsanto Co. v.

 Geertson Seed Farms, 561 U.S. 139, 165 (2010).

          “‘A plaintiff seeking a permanent injunction must satisfy a four-factor test before a court may

 grant such relief. A plaintiff must demonstrate: (1) that it has suffered an irreparable injury; (2) that

 remedies available at law, such as monetary damages, are inadequate to compensate for that injury; (3)

 that, considering the balance of hardships between the plaintiff and defendant, a remedy in equity is

 warranted; and (4) that the public interest would not be disserved by a permanent injunction.’” Id. at

 156-57 (alteration omitted) (quoting eBay Inc. v. MercExchange, LLC, 547 U.S. 388, 391 (2006)).

                                                     ARGUMENT
 I.       THIS COURT SHOULD VACATE THE CHALLENGED DISPARATE-IMPACT REGULATIONS
          A.        Vacatur Is The Default Remedy Here
          Section 706 provides that a “reviewing court shall … hold unlawful and set aside agency

 action” found to be unlawful. 5 U.S.C. § 706. “Under prevailing [Fifth Circuit] precedent, § 706

 ‘extends beyond the mere non-enforcement remedies available to courts that review the

 constitutionality of legislation, as it empowers courts to “set aside”— i.e., formally nullify and revoke—

 an unlawful agency action.’” Data Marketing Partnership, 45 F.4th at 859 (quoting Jonathan F.




 1  The State and Defendants have conferred regarding proposed judgments. The parties have agreed upon most terms of
 the proposed judgment and its form save for the two issues briefed here: (1) vacatur and (2) the scope of injunctive relief.
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 Mitchell, The Writ-of-Erasure Fallacy, 104 Va. L. Rev. 933, 950 (2018)). 2 For that reason, vacatur is not

 only a permissible remedy under the APA, but in fact in the Fifth Circuit “[t]he default rule is that

 vacatur is the appropriate remedy.” Id. (emphasis added); accord Cargill v. Garland, 57 F.4th 447, 472

 (5th Cir. 2023) (en banc) (same); National Parks Conservation Ass’n v. Semonite, 925 F.3d 500, 501 (D.C.

 Cir. 2019) (“[V]acatur is the default remedy to correct defective agency action.”).

          “Given that presumption [that vacatur should issue], remand without vacatur is appropriate

 only if ‘there is at least a serious possibility that the agency will be able to substantiate its decision

 given an opportunity to do so.’”Alliance for Hippocratic Med. v. FDA, 78 F.4th 210, 255 (5th Cir.) cert.

 granted 144 S. Ct. 537 (2023) (quoting Texas v. United States, 50 F.4th 498, 529 (5th Cir. 2022)); see also

 id. (favorably citing to D.C. Circuit’s remand without vacatur standard in Radio-Television News Dirs.

 Ass’n v. FCC, 184 F.3d 872, 888 (D.C. Cir. 1999)); accord Texas v. Biden, 20 F.4th 928, 1000 (5th Cir.

 2021) abrogated on other grounds 142 S. Ct. 2528 (2022) (“Our court applies the same test [as the D.C.

 Circuit], though perhaps phrased differently.” (citing Cent. & S. W. Servs., Inc. v. EPA, 220 F.3d 683,

 692 (5th Cir. 2000)). The “test for whether vacatur is appropriate considers two factors: ‘(1) the

 seriousness of the deficiencies of the action, that is, how likely it is the agency will be able to justify its

 decision on remand; and (2) the disruptive consequences of vacatur.’” Texas, 20 F.4th at 1000 (quoting

 United Steel v. Mine Safety & Health Admin., 925 F.3d 1279, 1287 (D.C. Cir. 2019)).

          Finally, “because vacatur is the default remedy ... defendants bear the burden to prove

 that vacatur is unnecessary.” Tex. Med. Ass’n v. HHS, No. 6:23-cv-59-JDK, 2023 U.S. Dist. LEXIS

 135310, at *34 (E.D. Tex. Aug. 3, 2023) (cleaned up).



 2  The federal government has argued in the U.S. Supreme Court that the APA does not even authorize vacatur as a
 remedy. See, e.g., Brief for Petitioners at 40-44, United States v. Texas, 599 U.S. 670 (2023) available at
 https://www.supremecourt.gov/DocketPDF/22/22-58/237711/20220912201922622_22-58tsUnitedStates.pdf.                   The
 Supreme Court has not adopted that argument. Any such argument in this Court, moreover, is squarely precluded by
 multiple binding Fifth Circuit precedents holding that vacatur is not only an allowable remedy under the APA but in fact
 the default remedy.
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         B.      Vacatur of the Challenged Disparate-Impact Regulations Is Warranted
         This Court should follow the “default rule” and vacate the challenged disparate-impact

 regulations. Here, the “‘the seriousness of the deficiencies’” factor weighs strongly in favor of vacatur

 since there is no possibility “’the agency w[ould] be able to justify its decision on remand.’” Texas, 20

 F.4th at 1000 (citation omitted). This Court held Defendants’ disparate-impact regulations outright

 violate the text of Section 601. See, e.g., Order at 69 (“Reliance upon 602 to effectuate § 601 does not

 morph § 601 to include discrimination by disparate impact mandates that remove the element of

 intent.”). It further held that imposing disparate-impact liability on States under those regulations

 violates the Spending Clause. Id. at 70. And it finally held that “the major questions doctrine is

 applicable here” and accordingly that any “imposition of disparate impact mandates under Title VI …

 demands clear congressional authorization.” Id.

         Given these holdings, there is no chance whatsoever that EPA and DOJ would “be able to

 justify [their] decision on remand.” Texas, 20 F.4th at 1000. The defects in Defendants’ disparate-

 impact regulations are irredeemable since any disparate-impact mandate violates Section 601. That is

 particularly true because this Court held that the major questions doctrine applies, Order at 70—since

 not even Defendants appear to argue that Title VI supplies the requisite “clear congressional

 authorization” that could support disparate-impact liability. Nor would Defendants ever be able to

 avoid or evade on remand the constitutional violations that any imposition of disparate-impact liability

 on the States under Title VI necessarily occasions. See id.

         Notably, the Fifth Circuit has held that “[r]emand without vacatur [wa]s likely not appropriate

 [where] ‘it is far from certain’ that [the agency] could cure its mistakes with further consideration.”

 Alliance for Hippocratic Medicine, 78 F.4th at 255 (citation omitted). Here, however, it is certain that

 Defendants could not cure their regulations’ deficiencies on remand. A remand without vacatur is thus

 plainly unwarranted here.

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            Nor are there any obvious “disruptive consequences” that would justify withholding vacatur.

 EPA only appears to have about ten Title VI complaints under investigation and a similar number in

 informal negotiations. See Henderson Decl. Ex. 86. To the extent that EPA is investigating the

 intentional discrimination that Section 601 actually prohibits, such investigations could go forward

 without any disruption. And to the extent that EPA is investigating alleged disparate impacts, such

 enforcement actions are now plainly unlawful and EPA will not suffer any cognizable prejudice from

 its inability to conduct them.

            Indeed, even if legally cognizable, any disruptions caused by a vacatur would be less than that

 which EPA has inexplicably inflicted upon itself. EPA has admitted previously (and did not contest

 in this case 3) that the agency “didn’t check [a] complaint inbox for civil-rights concerns from June

 2014 to July 2015,” during which there were “149 messages,” including “29 e-mails [that] raised

 discrimination-related concerns”—all of which went completely ignored, with EPA still “crafting its

 responses in April 2016.” Seidemann Decl. Exh. 72 at 2-3. In effect, EPA imposed on itself a

 moratorium on all new Title VI complaints, whether they asserted intentional-discrimination or

 disparate-impact-based allegations. That de facto moratorium was apparently unconcerning to EPA

 itself and only became an issue when journalists started inquiring about it. See id. Nor is there any

 apparent evidence that the cause of “environmental justice” suffered any material setbacks from the

 prolonged period of complete inaction of EPA on new complaints.

            Vacatur is further warranted because the State could otherwise suffer a competitive

 disadvantage in obtaining grants from DOJ and EPA. Absent a vacatur, grants to agencies in the other

 49 States will continue to bind those agencies to Defendants’ disparate-impact mandates for the term

 of the grants. Not so for Louisiana’s agencies under the terms of the preliminary injunction (and likely




 3   See Doc. 34 at 36-37 (raising issue); see generally Doc. 42 (EPA’s brief not contesting fact).
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 permanent injunction). Defendants will thus get far more coercive bang for their bucks if they steer

 grants to agencies in the other 49 states. And EPA’s desire to exploit its leverage under Title VI is

 readily revealed by its extraction of settlement agreements from Michigan and Illinois during the

 pendency of this suit. Seidemann Decl. Ex. 66; Henderson Decl. Exs. 86-87.

          A vacatur would thus avoid putting Louisiana agencies at a competitive disadvantage in seeking

 EPA and DOJ grants, which is a further reason to follow the default rule and issue a vacatur here.

 II.      THIS COURT SHOULD ISSUE A PERMANENT INJUNCTION COVERING ALL OF LOUISIANA
          A.       A Permanent Injunction Is Warranted
          This Court has already concluded that all of the requirements for issuance of a preliminary

 injunction were satisfied here. See Order at 73-77. “The standard for a preliminary injunction is

 essentially the same as for a permanent injunction with the exception that the plaintiff must show a

 likelihood of success on the merits rather than actual success.” Amoco Prod. Co. v. Vill. of Gambell, 480

 U.S. 531, 546 n.12 (1987). Given that the State has now achieved “actual success” on its disparate-

 impact and Extra-Regulatory Requirements claims, and all other requirements for injunctive relief

 continue to be met, the State is entitled to permanent injunctive relief on those claims.

          Indeed, the parties’ respective judgment proposals both provide for permanent injunctive

 relief. The only remaining question is scope, with the State proposing that the injunction apply

 everywhere within its borders and Defendants seeking to limit it solely to the State and State agencies. 4

          B.       A Statewide Injunction Is Warranted Here
          The Supreme Court has instructed that “[t]he scope of injunctive relief is dictated by the extent

 of the violation established, not by the geographical extent of the plaintiff class.” Califano v. Yamasaki, 442

 U.S. 682, 702 (1979) (emphasis added). Here, the legal violations found by the Court apply not only

 to every square inch of Louisiana’s territory, but everywhere in the United States without exception—


 4 Given the United States’ position that vacatur is not an allowable remedy, an injunction is also warranted to provide
 appropriate relief. In any event, Defendants do not appear to oppose entry of an injunction, only a statewide one.
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 i.e., disparate-impact regulations and Extra-Regulatory Requirements are illegal anywhere in the United

 States that Defendants attempt to impose them. A nationwide injunction could thus be warranted

 here if the State were seeking one. See also Feds for Med. Freedom v. Biden, 63 F.4th 366, 387 (5th Cir.)

 vacated as moot 144 S. Ct. 480 (2023) (explaining that the “the [Supreme] Court has yet to tell us they’re

 [nationwide injunction] verboten”) (affirming nationwide injunction). But here the State seeks only a

 substantially more-limited injunction that applies only within Louisiana’s borders.

         A statewide injunction is particularly warranted because Defendants’ unlawful regulations

 inflict sovereign injury upon the State by displacing its sovereign authority within its own territory.

 The Louisiana Constitution bans discrimination “because of race” and guarantees all within

 Louisiana’s borders “the equal protection of the laws.” Louisiana Const. art. 1 § 3. Louisiana statutory

 law similarly bans discrimination by virtually all businesses and other federal grant recipients in the

 State. See, e.g., La. R.S. 23:332; 17:111. And as Justice Scalia recognized in Ricci, disparate-impact

 mandates effectively compel regulated entities to discriminate on the basis of race. See Ricci v. DeStefano,

 557 U.S. 557, 594 (2009) (Scalia, J., concurring) (Disparate-impact requirements “not only permit[] but

 affirmatively require[] [race-based discrimination] when a disparate-impact violation would otherwise

 result.”) (emphasis in original).

         Defendants’ disparate-impact mandates thus greatly increase the chance that federal grant

 recipients within the State will violate State law by compelling the sort of race-based discrimination

 that Louisiana law prohibits. Indeed, grant recipients doing so will likely even claim that Louisiana law

 is preempted by Defendants’ Title VI regulations as a defense. Tellingly, to the State’s knowledge,

 Defendants have never disclaimed preemptive effect of their regulations. And there is every reason to

 believe if a non-State federal grant recipient faced a choice between complying with Defendants’ Title

 VI disparate-impact regulations and Louisiana law, Defendants would take the position that the



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 recipient is compelled to follow the former. A statewide injunction is thus “necessary to provide

 complete relief” to the State, and an injunction with that scope is warranted. Califano, 442 U.S. at 702.

         Louisiana v. Becerra is particularly instructive here. There the Fifth Circuit concluded that a

 nationwide injunction against a vaccine mandate for nearly all Medicare and Medicaid providers was

 overbroad. 20 F.4th at 263-64. But instead of narrowing the injunction purely to hospitals and other

 medical providers that were owned or operated by the 14 plaintiff states—as Defendants would do

 here—the Fifth Circuit only stayed the injunction’s “application to any other jurisdiction” beyond

 “the 14 Plaintiff States.” Id. at 264; see also San Francisco v. USCIS, 981 F.3d 742, 763 (9th Cir. 2020)

 (affirming injunction limited to plaintiff states but vacating parallel nationwide injunction as

 overbroad). And just as the Fifth Circuit did not abuse its discretion in limiting injunctive relief to the

 boundaries of the plaintiff states rather than the plaintiff states as entities, this Court would be amply

 within its discretion to issue an injunction limited to Louisiana’s borders rather than just State entities.

         A statewide injunction also would not raise any concerns about preclusion and “‘the airing of

 competing views’ in [other] circuits” as a nationwide injunction would. Louisiana, 20 F.4th 264. Indeed,

 an injunction tailored to Louisiana alone would not even prevent district courts within the Fifth Circuit

 in Texas and Mississippi from reaching their own views as to the legality of Defendants’ disparate-

 impact regulations.

         A statewide injunction is particularly appropriate given EPA’s proclivity for making demands

 (such as the Extra-Regulatory Requirements) in informal negotiations. See Order at 9, 23, 25-29, 30-

 33, 70-72. Given the Sword of Damocles that cutting off federal funds would represent, EPA’s

 unlawful demands under Title VI disparate-impact regulations have all the subtlety of Vito Corleone’s

 “offers they can’t refuse.” See generally The Godfather (Paramount Pictures 1972). But despite their

 flagrant illegality, EPA has shamelessly and repeatedly made unlawful demands only to turn around

 and argue they are mere negotiating positions that are completely beyond the authority of federal
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 courts to review. Order at 30, 52-57. A statewide injunction will stop any such strongarm tactics in

 Louisiana, however, and is amply warranted here.

                                                  CONCLUSION
        For the foregoing reasons, this Court should enter the State’s proposed judgment that vacates

 the challenged disparate-impact regulations and issues a statewide injunction.



         Dated: April 23, 2024                                 Respectfully submitted,

                                                               By:/s/ Tracy Short

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        * pro hac vice application granted




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